                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF ALBAMA,
                            NORTHERN DIVISION

In re: JIT INDUSTRIES, INC.                )
       EIN: xx-xxx7267                     )      Case No.: 18-80892-CRJ-11
                                           )
               Debtor.                     )
                                           )      CHAPTER 11
_______________________________________)
                                           )
JIT INDUSTRIES, INC.,                      )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )      Adversary Proceeding No: ________
                                           )
WELLS FARGO FINANCIAL                      )
LEASING, INC.,                             )
                                           )
SPECTRUM MFG. & SALES, INC.,               )
                                           )
CAVANAUGH GOVERNMENT                       )
GROUP, LLC,                                )
                                           )
MSC INDUSTRIAL SUPPLY,                     )
                                           )
JIT MILITARY SALES,                        )
An Alabama General Partnership,            )
                                           )
AMERICAN EXPRESS BANK FSB ,                )
A federal savings bank organized under the )
Laws of the United States,                 )
                                           )
B.W. ELLIOTT MANUFACTURING                 )
CO., LLC,                                  )
                                           )
PORTFOLIO RECOVERY                         )
ASSOCIATES, LLC, as assignee of            )
CAPITAL ONE BANK (USA), N.A. ,             )
                                           )
CITY OF HUNTSVILLE, TAX                    )
ADMINISTRATION DIVISION,                   )
                                           )
LYNDA HALL, TAX COLLECTOR FOR              )
MADISON COUNTY, ALABAMA,                   )
                                           )
ROBERTSON FUEL SYSTEMS, L.L.C.             )
                                           )
       Defendants.                         )


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ADVERSARY PROCEEDING TO OBJECT TO DISPUTED PROOFS OF CLAIM AND
FOR DECLARATORY JUDGMENT RELATED TO DEBTS OF JIT MILITARY SALES

       COMES NOW JIT Industries, Inc., as the Chapter 11 Debtor-in-Possession (“Debtor”
and “JIT”), and, pursuant to Rule 7003 of the Federal Rules of Bankruptcy Procedure, shows
unto the Court as follows:
                                JURISDICTION AND VENUE


       1.      On March 23, 2018 (the “Filing Date”), JIT filed a voluntary petition under
Chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Northern District of Alabama, Northern
Division (the “Bankruptcy Court”).


       2.      The Debtor continues to be authorized to operate as Debtor-in-Possession.


       3.      Jurisdiction of this Court over the instant adversary proceeding is based upon 28
U.S.C. § 1334 in that this action arises and relates to the above-described Chapter 11 bankruptcy
case and is not based solely on a claim or cause of action under state law.


       4.      Venue of this proceeding is based on 28 U.S.C. § 1409 in that it is being
commenced in the district where the related case under Title 11 U.S.C. is pending.


       5.      The Debtor brings this adversary proceeding seeking a declaratory judgment
pursuant to 11 U.S.C. § 105 and to object to creditor proofs of claim pursuant to Rule 3007 of the
Federal Rules of Bankruptcy Procedure.


                                   FACTUAL AVERMENTS
                                              Parties


       6.      JIT is an Alabama corporation headquartered in Morgan County, Alabama. It is
the Debtor in the above-styled Chapter 11 bankruptcy case (the “Bankruptcy Case”).


       7.      Wells Fargo Leasing, Inc. (“Wells Fargo”) is a disputed creditor in the
Bankruptcy Case. Wells Fargo has filed a proof of claim in the Bankruptcy Case [Claim 1-1].




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        8.        Spectrum Mfg. & Sales, Inc. (“Spectrum”) is a disputed creditor in the
Bankruptcy Case. Spectrum has filed a proof of claim in the Bankruptcy Case [Claim 4-1].


        9.        Cavanaugh Government Group, LLC (“Cavanaugh”) is a disputed creditor in the
Bankruptcy Case. Cavanaugh has filed a proof of claim in the Bankruptcy Case [Claim 5-1].


        10.       MSC Industrial Supply (“MSC”) is a disputed creditor in the Bankruptcy Case.
MSC has filed a proof of claim in the Bankruptcy Case [Claim 6-1].


        11.       American Express Bank FSB (“AMEX”), a federal savings bank organized under
the laws of the United States, is a disputed creditor in the Bankruptcy Case. AMEX has not filed
a proof of claim in the Bankruptcy Case, as of the date of this filing. Prepetition, AMEX filed
suit in Alabama state court against JIT, but its claim remains unliquidated.


        12.       Portfolio Recovery Associates, LLC, as assignee of Capital One Bank (USA),
N.A. (“PRA”) is a disputed creditor in the Bankruptcy Case. PRA has not filed a proof of claim
in the Bankruptcy Case, as of the date of this filing.


        13.       B.W. Elliott Manufacturing Co., LLC (“B.W.”), is a disputed creditor in the
Bankruptcy Case. B.W. has not filed a proof of claim in the Bankruptcy Case, as of the date of
this filing.


        14.       The City of Huntsville, Tax Administration Division (the “City”) is a disputed
creditor in the Bankruptcy Case. City has not filed a proof of claim in the Bankruptcy Case, as of
the date of this filing.


        15.       Lynda Hall, Tax Collector for Madison County, Alabama (“Hall”) is a disputed
creditor in the Bankruptcy Case. Hall has not filed a proof of claim in the Bankruptcy Case, as of
the date of this filing.


        16.       Robertson Fuel Systems, L.L.C. (“Robertson”) is a disputed creditor in the
Bankruptcy Case. Robertson has not filed a proof of claim in the Bankruptcy Case, as of the date
of this filing.




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       17.        JIT Military Sales (“Military Sales”) is an Alabama general partnership. JIT and
Military Sales are adverse parties in a separate adversary proceeding before this Court.


                                  History of JIT and Military Sales


       18.        Between the years of 2009 and 2017, JIT operated on the understanding that
Military Sales constituted a subsidiary of JIT; many creditors invoiced JIT directly for goods and
services provided to Military Sales.


       19.        In April 2017, however, an Alabama state court (the “State Court”) found that
Military Sales was, in fact, an entity separate and distinct from JIT, with JIT only owning 10% of
the Military Sales general partnership. A true and correct copy of the State Court order making
such findings is attached and incorporated as Exhibit “A.”


       20.        Today, JIT has no ownership interest in Military Sales because JIT’s creditors
foreclosed on its interest in the partnership in mid-2017.


                                  Appointment of Receiver for JIT


       21.        On April 18, 2017, the State Court appointed Kevin D. Heard as receiver for
Military Sales.


       22.        Mr. Heard filed a receiver’s report with the State Court on May 8, 2017 stating
that AMEX and PRA, along with numerous unlisted creditors, were creditors of Military Sales.
A true and correct copy Mr. Heard’s receiver’s report is attached and incorporated as Exhibit
“B.”


       23.        JIT avers that the debts listed in Mr. Heard’s receiver’s reports includes the claims
of Wells Fargo, Spectrum, Cavanaugh, MSC, AMEX, B.W., PRA, City, Hall, Robertson, and
other unlisted creditors. These debts were incurred for the benefit of Military Sales, not JIT.




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       24.     On May 19, 2017, the State Court appointed Rod Hill, Danny Overbee, and
Phillip Hill as Military Sales’s receivers to take the place of Mr. Heard (the “New Receivers”).
The New Receivers were former employees of JIT and the Plaintiffs in the State Court lawsuit.


       25.     The New Receivers took possession of $691,960.69 via two checks paid from a
JIT bank account, along with other property of value.


       26.     JIT avers that the New Receivers have not, to date, paid any of the business
expenses of Military Sales, thus resulting in the numerous disputed creditor claims in the present
Bankruptcy Case for debts that were incurred for the benefit of Military Sales.


        27.     JIT is unaware of what the New Receivers did with the hundreds of thousands of
dollars of creditor money they took from Military Sales’s bank account.


       28.     JIT avers the collective debts Military Sales owes to Wells Fargo, Spectrum,
Cavanaugh, MSC, AMEX, B.W., PRA, City, Hall, Robertson and other unknown creditors
exceeds $600,000.00.


                                             COUNT ONE
                                      Objection to Proofs of Claim


       29.     The factual averments of paragraphs 5 through 28 of this Complaint are
incorporated as if restated herein.


       30.     JIT hereby objects to the proofs of claim filed by Wells Fargo, Spectrum,
Cavanaugh, and MSC [Claims 1-1, 4-1, 5-1, and 6-1] because these claims represent debts of
Military Sales and not of JIT.


       31.     JIT hereby objects to any and all claims of AMEX, B.W., City, Hall, Robertson,
and PRA because any such claims represent debts of Military Sales and not JIT.


       32.     JIT requests that this Court sustain its objection to all of the claims listed in this
adversary proceeding.




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                                           COUNT TWO
             Declaratory Judgment – Debts of Military Sales are not Debts of JIT


       33.     The factual averments of paragraphs 5 through 32 of this Complaint are
incorporated as if restated herein.


       34.     JIT has filed this present adversary proceeding before the claims bar date to
expedite the resolution of the Bankruptcy Case.


       35.     Because the Bankruptcy Case is ongoing and, as of this adversary proceeding’s
filing date, the claims bar date has not expired, JIT expects disputed creditors to file more proofs
of claim against JIT for debts of Military Sales.


       36.     Again, such debts should be paid by Military Sales and not JIT; its receivers took
possession of $691,960.69 in cash via two checks, along with other property but have failed to
pay Military Sales’s debts.


       37.     Accordingly, JIT seeks an order from this Court determining that it is not
responsible for the debts of Military Sales, including those listed creditors that have filed proofs
of claim in JIT’s Bankruptcy Case.


                                      PRAYERS FOR RELIEF


       WHEREFORE, premises considered, the Debtor, JIT Industries, Inc., respectfully
requests that, upon due notice and a hearing, this Honorable Court enter an Order:


       A.      Sustaining its objection to each and every claim listed in this adversary
               proceeding;


       B.      Determining that JIT is not responsible for the debts of Military Sales, whether or
               not those creditors have filed proofs of claim in JIT’s Bankruptcy Case; and


       C.      Granting such further relief as this Court deems just and proper.




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     Respectfully submitted this the 9th day of July, 2018.



                                              /s/ Tazewell T. Shepard IV
                                              Tazewell T. Shepard III
                                              Tazewell T. Shepard IV
                                              Attorneys for the Debtor-in-Possession

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                                             P.O. Box 19045
                                             Huntsville, AL 35804
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     SERVE UPON:

     Spectrum Mfg. & Sales, Inc.                   MSC Industrial Supply
     1951 Hampshire Road                           75 Maxess Road
     Columbus, OH 43221-4116                       Melville, NY 11747


     Wells Fargo Leasing, Inc.                     Wells Fargo Leasing, Inc.
     800 Walnut Street                             C/O Corporation Service Company, Inc.
     MAC F0005-055                                 641 South Lawrence Street
     De Moines, IA 50309                           Montgomery, AL 36104


     Cavanaugh Government Group, LLC               Cavanaugh Government Group, LLC
     8432 Beloit Avenue                            C/O Richard D. Klein
     Bridgeview, IL 60455                          1730 Park Street, Ste. 221
                                                   Naperville, IL 60563


     American Express Bank FSB                     American Express Bank FSB
     C/O C T Corporation System                    C/O Registered Agent
     2 North Jackson Street, Ste. 605              4315 S. 2700 W.
     Montgomery, AL 36104                          Salt Lake City, UT 84111




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     Kevin D. Heard, Esq.                    Rod Hill
     Heard, Ary & Dauro, LLC                 255 Natchez Trail
     303 Williams Avenue, Ste. 921           Huntsville, AL 35806
     Huntsville, AL 35801


     Phillip Hill                            Danny Overbee
     3155 Hurricane Road                     1414 Regency Boulevard SE
     New Market, AL 35761                    Decatur, AL 35601


     B.W. Elliott Manufacturing CO., LLC     Ann U. Smith, Esq.
     C/O Corporation Service Company         Michael Best & Friedrich LLP
     80 State Street                         One S. Pinckney Street, Ste. 700
     Albany, NY 12207-2543                   Madison, WI 53703


     Portfolio Recovery Associates, LLC      City of Huntsville
     P.O. Box 12914                          Tax Administration Division
     Norfolk, VA 25341-0914                  P.O. Box 308
                                             Huntsville, AL 35804


     Lynda Hall, Tax Collector for           Robertson Fuel Systems, L.L.C.
     Madison County, Alabama                 C/O Corporation Service Company
     100 Northside Square, Ste. 116          2338 W. Royal Palm Road, Ste. J
     Huntsville, AL 35801                    Phoenix, AZ 85021




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